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                   SUPERIOR COURT OF NEW JERSEY
                           HUDSON COUNTY
_____________________________________

JASMINE MHREZ,

                     Plaintiff,

   -against-                                            No. HUD-L-000728-22


RADIUS GLOBAL SOLUTIONS, LLC

                 Defendant.
_____________________________________

                   NOTICE OF FILING NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that this action has been removed to the United States

District Court for the District of New Jersey. Attached hereto as Exhibit “1” is a copy of

the Notice of Removal filed in the United States District Court, District of New Jersey

effecting such removal.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1446, the filing

of the Notice of Removal in the United States District Court, together with the filing of a

copy of such Notice with this Court, effects the removal of this action and this Court may

proceed no further unless and until the case is remanded.

Dated: April 13, 2022                     Respectfully submitted,

                                          /s/ Aaron R. Easley
                                          Aaron R. Easley, Esq. (#026151994)
                                          SESSIONS, ISRAEL & SHARTLE, LLC
                                          3 Cross Creek Drive
                                          Flemington, NJ 08822
                                          Telephone: (908) 237-1660
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                                            Email: aeasley@sessions.legal
                                            Attorney for Defendant,
                                            Radius Global Solutions, LLC

                              CERTIFICATE OF SERVICE

       I certify that on this 13th day of April, 2022, a copy of the foregoing was filed

electronically on the clerk of court. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system.

       Daniel Zemel, Esq.
       Zemel Law, LLC
       660 Broadway
       Paterson, New Jersey 07514

                                                    /s/ Aaron R. Easley
                                                     Aaron Easley, Esq.




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